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. _,,
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        UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
                                            -x

        UNITED STATES OF AMERICA
                                                   UNSEALING ORDER
                  -v.-

        TYRONE THURMOND,
                                                   S1 20 Cr. 504     K!\t\ It)
             a/k/a "Man Man,"

                             Defendant.
                                          - -x


                  Upon application of the United States of America, by and

        through Assistant United States Attorney Christopher J. Clore, it

        is hereby ORDERED that Indictment Sl 20 Cr.     504,   which was filed

        under seal on September 22, 2020, be and hereby is unsealed.


        SO ORDERED.

        Dated:    New York, New York
                  October 15, 2020




                                              HONORA
                                              UNITED                   JUDGE
                                              SOUTHERN DISTRICT OF NEW YORK
